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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

MORRELL WILLIAMS                                                                     PLAINTIFF

v.                              Case No. 4:19-cv-00804-KGB

OCSE                                                                             DEFENDANT

                                            ORDER

       In an Order entered February 20, 2020, the Court granted plaintiff Morrell Williams’s

motion for leave to proceed in forma pauperis (Dkt. No. 3). The Court also identified deficiencies

in Mr. Williams’s complaint and ordered Mr. Williams to file an amended complaint within 30

days of the date of the Order (Id. at 2). The Court advised Mr. Williams that his failure to comply

with this Order could result in the dismissal of his lawsuit (Id. at 3). See Local Rule 5.5 of the

Local Rules of the Eastern and Western Districts of Arkansas (“If any communication from the

Court to a pro se plaintiff is not responded to within thirty (30) days, the case may be dismissed

without prejudice.”). As of the date of this Order, Mr. Williams has not filed an amended

complaint. Accordingly, the Court dismisses without prejudice Mr. Williams’s lawsuit for failure

to file an amended complaint within 30 days as directed by the Court (Id.).

       It is so ordered, this 5th day of November, 2020.



                                                           ___________________________
                                                           Kristine G. Baker
                                                           United States District Judge
